                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
v.                                          )      Case No.: 08-4052-03-CR-C-SOW
                                            )
MARQUITA MARIE ROBERTS,                     )
                                            )
                       Defendant.           )

                                            ORDER

       Before the Court is a Report and Recommendation Concerning Plea of Guilty (Doc. #63)

from Magistrate Judge William A. Knox. Defendant Marquita Marie Roberts appeared before

Magistrate Judge Knox on October 20, 2009, and entered a plea of guilty to Count I of the

indictment filed on November 20, 2008. Based upon the Report and Recommendation, it is hereby

       ORDERED that defendant Marquita Marie Roberts’ plea of guilty is accepted and defendant

Roberts is adjudged guilty. It is further

       ORDERED that a presentence investigation report be prepared on defendant Marquita Marie

Roberts.



                                               /s/ Scott O. Wright
                                            SCOTT O. WRIGHT
                                            Senior United States District Judge

DATED:        10/21/2009




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